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               NOTE: This order is nonprecedential.

        United States Court of Appeals
            for the Federal Circuit
                      ______________________

       ADVANCED SIMULATION TECHNOLOGY, INC.,
                   Plaintiff-Appellant

                                 v.

                        UNITED STATES,
                        Defendant-Appellee
                      ______________________

                            2025-1089
                      ______________________

         Appeal from the United States Court of Federal Claims
     in No. 1:23-cv-02201-MRS, Judge Molly R. Silfen.
                      ______________________

                            ORDER
         The order disposing of the last motion subject to Fed.
     R. App. P. 4(a)(4) having been filed in the United States
     Court of Federal Claims, Court of Federal Claims, it is
     hereby,
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     2           ADVANCED SIMULATION TECHNOLOGY, INC. V. US



          ORDERED that the appeal be, and the same hereby
     is, REACTIVATED effective 11/08/2024. The appellant's
     brief is due on 01/07/2024.




                                         FOR THE COURT




     November 8, 2024
          Date
